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 3   (916) 440-1010
 4   Attorney for Defendant
     JUN MOU PENG
 5

 6

 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                      )   2: 13-CR-0050 KJM
                                                    )
13                  Plaintiff,                      )   STIPULATION AND [PROPOSED]
                                                    )   ORDER TO MODIFY CONDITIONS OF
14          vs.                                     )   PRETRIAL RELEASE
                                                    )
15   JUN MOU PEN,                                   )
                                                    )
16                                                  )
                                                    )
17                  Defendant.                      )
                                                    )
18                                                  )

19
            At the request of Pretrial Services, the parties hereby stipulate to modify Defendant
20
     JUN MOU PENG’S conditions of release as follows:
21
     Condition #7 currently reads:
22

23          You shall refrain from excessive use of alcohol or any use of a narcotic drug or other

24          controlled substance without a prescription by a licensed medical practitioner; and you
25
            shall notify Pretrial Services immediately of any prescribed medication(s). However,
26
            medicinal marijuana, prescribed or not, may not be used.
27

28




                                 Modification of Release Conditions
     Case 2:13-cr-00050-KJM Document 212 Filed 02/17/16 Page 2 of 2


 1   Condition #7 shall be changed to:
 2
            You shall refrain from any use of alcohol or any use of a narcotic drug or other
 3
            controlled substance without a prescription by a licensed medical practitioner; and you
 4

 5          shall notify Pretrial Services immediately of any prescribed medication(s). However,

 6          medicinal marijuana, prescribed or not, may not be used.
 7

 8
     SO STIPULATED.
 9
     Dated: February 16, 2016                            _/s/ Chris Cosca ___________________
10
                                                         CHRIS COSCA
11                                                       Attorney for Defendant,
                                                         JUN MOU PENG
12

13
                                                         _/s/ Christian Highsmith______________
14                                                       CHRISTIAN HIGHSMITH
                                                         Assistant United States Attorney
15

16

17
                                                ORDER
18

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20   IT IS SO ORDERD.
21

22
     Dated: February 16, 2016
23

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                                 Modification of Release Conditions
